                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF WISCONSIN


NORTHSHORE PHARMACY,

              Plaintiff,
                                                            Case No.: 21CV605
       v.
                                                            DEMAND FOR JURY TRIAL
SOUTHERN ALLIANCE COMPANY, INC.
d/b/a T & S SUPPLY and
JAY GOINS,

              Defendants.


                                    MOTION TO DISMISS


       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff hereby dismisses this

case without prejudice.

Dated this 12th day of January, 2022.
                                                    HANSEN REYNOLDS LLC

                                                    /s/ Michael C. Lueder                   j
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